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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

       Plaintiff,
                                                            Hon. Janet T. Neff
 v.
                                                            Case No. 1:17-cr-00226
 DEANDRE RASHAUN HULBERT,

       Defendant.
 ________________________________/

                             ORDER OF DETENTION

      This matter is before the Court on the government’s motion for pretrial

detention. Defendant has been charged in a five-count Indictment. Count 1 charges

him with conspiracy to distribute a controlled substance, in violation of 21 U.S.C. §§

846, 841(a)(1) and (b)(1)(C); count 2 charges him with possession with intent to

distribute controlled substances, in violation of 21 U.S.C. §§ 841,(a)(1) and (b)(1)(C)

and 18 U.S.C. § 2; count 3 charges him with using or maintain a drug-involved

premises, in violation 21 U.S.C. § 856(a)(1) and (b); count 4 charges him with felon

in possession of firearms and ammunition, in violation of 18 U.S.C. 922(g)(1); and

count 5 charges him with possession of firearms in furtherance of a drug trafficking

crime, in violation of 18 U.S.C. § 924(c)(1)(A)(i). Given the nature of the charge of

count 5, there is a statutory rebuttable presumption in favor of detention.

      The government sought defendant’s detention on the basis the he is a danger
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to the community, 18 U.S.C. § 1342(f)(1).       The Court conducted a hearing on

December 7, 2017, at which defendant was represented by counsel.

      Having considered the information presented at the hearing, the parties’ oral

submissions, and the information in the Pretrial Services Report, and for the reasons

stated on the record, the Court finds that defendant has rebutted the presumption of

detention as to danger to the community.

      The Court also finds, as explained on the record, that the government has

sustained its burden of proving, by clear and convincing evidence, that he poses a

danger to the community. Further, the Court finds that there is no condition or

combination of conditions of release that will ensure the safety of the community.

Accordingly,

      IT IS ORDERED that defendant is committed to the custody of the Attorney

General pending trial.

      DONE AND ORDERED on December 7, 2017.



                                                /s/ Phillip J. Green
                                               PHILLIP J. GREEN
                                               United States Magistrate Judge




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